                                                        5 Filed 12/27/21
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                                                                              2 of 5
                                                                                   6

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.21-cv-3206

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

         This summons for (name of individual and title, if any) Attorney General of the United States
                               12/13/21
 was received by me on (date) 12/23/21                           .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           x Other (specify):
           ’                  Sent via Certified U.S. Mail on 12/16/21.
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date: 12/23/21
                                                                                            Server’s signature

                                                                      Oske Buckley, Director of Administration and Finance
                                                                                        Printed name and title

                                                                      Free Speech For People
                                                                      1320 Centre Street, #405
                                                                      Newton, MA 02459
                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
Case 1:21-cv-03206-TNM Document 9 Filed 12/27/21 Page 2 of 5
12/23/21, 12:04 PM        Case 1:21-cv-03206-TNM Document
                                                    USPS.com®9- USPS
                                                                 Filed   12/27/21
                                                                     Tracking® Results Page 3 of 5


   USPS Tracking
                                               ®                                                       FAQs




                                                     Track Another Package       +




                                                                                                     Remove
   Tracking Number: 70210350000095903273

   Your item was delivered at 4:47 am on December 23, 2021 in WASHINGTON, DC 20530.




           Delivered




                                                                                                              Feedback
   December 23, 2021 at 4:47 am
   WASHINGTON, DC 20530


   Get Updates




       Text & Email Updates


       Tracking History


       December 23, 2021, 4:47 am
       Delivered
       WASHINGTON, DC 20530
       Your item was delivered at 4:47 am on December 23, 2021 in WASHINGTON, DC 20530.



       December 22, 2021, 11:23 am
       Available for Pickup
       WASHINGTON, DC 20530



       December 22, 2021, 9:02 am
       Arrived at Post Office
       WASHINGTON, DC 20018
https://tools.usps.com/go/TrackConﬁrmAction?qtc_tLabels1=70210350000095903273#                                       1/2
12/23/21, 12:04 PM        Case 1:21-cv-03206-TNM Document
                                                    USPS.com®9- USPS
                                                                 Filed   12/27/21
                                                                     Tracking® Results Page 4 of 5

       December 21, 2021
       In Transit to Next Facility



       December 17, 2021, 10:00 am
       Departed USPS Regional Facility
       AUSTIN TX DISTRIBUTION CENTER



       December 16, 2021, 10:30 pm
       Arrived at USPS Regional Origin Facility
       AUSTIN TX DISTRIBUTION CENTER



       December 16, 2021, 2:52 pm
       USPS in possession of item
       AUSTIN, TX 78705




                                                                                                     Feedback
       Product Information



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                                    Can’t find what you’re looking for?
                           Go to our FAQs section to find answers to your tracking questions.


                                                                        FAQs




https://tools.usps.com/go/TrackConﬁrmAction?qtc_tLabels1=70210350000095903273#                              2/2
                                                       5 Filed 12/27/21
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                                                                                  6

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the

                                                          District
                                                    __________     of Columbia
                                                                District of __________

                 Free Speech For People                              )
                Campaign for Accountability                          )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 21-cv-3206
                                                                     )
               Federal Election Commission                           )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION
                                           Attorney General of the United States
To: (Defendant’s name and address) U.S. Department of Justice
                                           950 Pennsylvania Avenue NW
                                           Washington, DC 20530




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Ronald Fein
                                      Free Speech For People
                                      1320 Centre St. #405
                                      Newton, MA 02459



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               ANGELA D. CAESAR, CLERK OF COURT


Date:             12/09/2021                                                        /s/ Anson Hopkins
                                                                                            Signature of Clerk or Deputy Clerk
